      Case 1:07-cr-00124-SPW Document 161 Filed 02/01/17 Page 1 of 3

                                                                         FILED
                                                                           FEB 0 1 2017
                                                                        Clerk, U.S. District Court
                                                                          District Of Montana
                                                                                 Billings




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION


UNITED STATES OF AMERICA,
                                             CR 07-124-BLG-SPW
                Plaintiff,

      vs.
                                             WRIT OF CONTINUING
FRANK MIRANDA,                               GARNISHMENT

                Defendant,

FRANZ BAKERY,

                Garnishee.



GREETINGS TO:                Franz Bakery
                             5150 Midland Road
                             Billings, MT 59101

      An application for a writ of garnishment against the property of Frank Miranda,

defendant, (hereinafter referred to as "the judgment debtor") has been filed with this

court. A judgment for restitution was entered against the judgment debtor on or about



                                            1
       Case 1:07-cr-00124-SPW Document 161 Filed 02/01/17 Page 2 of 3



May 14, 2009 in the above-cited action. The total balance due is $8,972.50, as of

January 31, 20 l 7, plus accruing costs and interest in this action. The judgment

debtor's last known address is in Billings, MT. The street address of the judgment

debtor is redacted pursuant to Rule 49.l(a)(5) Fed.R.Crim.P.

      You are hereby required to withhold and retain pending further order, any property

or funds in which the judgment debtor has a substantial nonexempt interest and for which

you are now or may in the future become indebted to the judgment debtor, Frank

Miranda.

       You are further required by law to answer in writing, under oath, within ten

(10) days, whether or not you have in your custody, control or possession, any

property owned by the judgment debtor, including nonexempt, disposable

earnmgs.

       Please state whether or not you anticipate paying the debtor any future

payments and whether such payments are weekly, bi-weekly or monthly.

       You must, within ten (10) days of your receipt of this writ, file the original

written answer to this writ with the United States District Clerk at: Clerk of U.S.

District Court, 2601 Second Ave North, Suite 1200, Billings, MT 59101. Additionally,

you are required by law to serve a copy of your answer upon the judgment debtor,

Frank Miranda, and upon Victoria L. Francis, Assistant United States Attorney, 2601

Second Avenue North, Suite 3200, Billings, Montana, 59101.



                                              2
       Case 1:07-cr-00124-SPW Document 161 Filed 02/01/17 Page 3 of 3



      Under the law, there is property which is exempt from this writ of

garnishment. Property which is exempt and which is not subject to this order is

listed in the accompanying clerk's notice of post judgment garnishment.

      Pursuant to 15 U.S.C. §1674, garnishee is prohibited from discharging the

judgment debtor from employment by reason of the fact that his earnings have

been subject to garnishment for any one indebtedness.

      If you fail to answer this writ or withhold property in accordance with this writ,

the United States of America may petition the court for an order requiring you to

appear before the court. If you fail to appear or do appear and fail to show good cause

why you failed to comply with this writ, the court may enter a judgment against you

for the value of the judgment debtor's non-exempt property. It is unlawful to pay or

deliver to the judgment debtor any item attached by this writ.

      DATED this     3/ sf-dayof       a~                        ,2017.
                                   0
                                        ~r,tJ~
                                         SUSANi.WAflERS
                                         United States District Court Judge




                                            3
